Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 1 of 53 PageID #:4455
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 2 of 53 PageID #:4456
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 3 of 53 PageID #:4457
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 4 of 53 PageID #:4458
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 5 of 53 PageID #:4459
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 6 of 53 PageID #:4460
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 7 of 53 PageID #:4461
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 8 of 53 PageID #:4462
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 9 of 53 PageID #:4463
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 10 of 53 PageID #:4464
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 11 of 53 PageID #:4465
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 12 of 53 PageID #:4466
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 13 of 53 PageID #:4467
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 14 of 53 PageID #:4468
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 15 of 53 PageID #:4469
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 16 of 53 PageID #:4470
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 17 of 53 PageID #:4471
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 18 of 53 PageID #:4472
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 19 of 53 PageID #:4473
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 20 of 53 PageID #:4474
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 21 of 53 PageID #:4475
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 22 of 53 PageID #:4476
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 23 of 53 PageID #:4477
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 24 of 53 PageID #:4478
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 25 of 53 PageID #:4479
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 26 of 53 PageID #:4480
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 27 of 53 PageID #:4481
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 28 of 53 PageID #:4482
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 29 of 53 PageID #:4483
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 30 of 53 PageID #:4484
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 31 of 53 PageID #:4485
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 32 of 53 PageID #:4486
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 33 of 53 PageID #:4487
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 34 of 53 PageID #:4488
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 35 of 53 PageID #:4489
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 36 of 53 PageID #:4490
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 37 of 53 PageID #:4491
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 38 of 53 PageID #:4492
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 39 of 53 PageID #:4493
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 40 of 53 PageID #:4494
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 41 of 53 PageID #:4495
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 42 of 53 PageID #:4496
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 43 of 53 PageID #:4497
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 44 of 53 PageID #:4498
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 45 of 53 PageID #:4499
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 46 of 53 PageID #:4500
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 47 of 53 PageID #:4501
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 48 of 53 PageID #:4502
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 49 of 53 PageID #:4503
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 50 of 53 PageID #:4504
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 51 of 53 PageID #:4505
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 52 of 53 PageID #:4506
Case: 1:10-cv-07633 Document #: 391-4 Filed: 06/05/13 Page 53 of 53 PageID #:4507
